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 7

 8                        IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,              ) 2:15-MJ-0039-AC
                                            ) 2:15-MJ-0040-AC
12               Plaintiff,                 ) 2:15-MJ-0041-AC
                                            )
13         v.                               ) STIPULATION AND ORDER
                                            ) CONTINUING PRELIMINARY HEARING
14   BRYCE BEAVER,                          ) DATE
     CHARLES BEAVER, and                    )
15   SHAROD GIBBONS,                        )
                                            ) Judge: Hon. Kendall J. Newman
16                                          )
                 Defendants.                )
17

18                                     STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendants, by and through their counsel of record, hereby

21   stipulate as follows:

22      1. By prior order, these matters were set for Preliminary Hearing

23         on March 25, 2015 (Bryce Beaver and Charles Beaver) and April 3

24         (Sharod Gibbons).

25      2. By this Stipulation, the parties now move to continue the

26         Preliminary Hearing until April 29, 2015, at 2:00 p.m.

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28   ///


     Stipulation to Continue P/H             1       United States v. Gibbons, et al.
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 1      3. Defendants Bryce Beaver and Charles Beaver made their initial

 2         appearance on March 4, 2015.      Defendant Sharod Gibbons made his

 3         initial appearance on March 13, 2015.

 4      4. All three defendants are presently out of custody and being

 5         supervised by a Pretrial Services Officer.

 6      5. The parties have discussed a potential pre-indictment resolution

 7         of this matter.     The parties need further time to discuss this

 8         matter, discuss any potential consequences, and to allow counsel

 9         for the defendants reasonable time necessary for preparation and

10         further investigation.

11      6. The defendants understand that pursuant to 18 U.S.C. § 3161(b),

12         “any information or indictment charging an individual with the

13         commission of an offense shall be filed within thirty days from

14         the date on which such individual was arrested.”          Time may be

15         excluded under the Speedy Trial Act if the Court finds that the

16         ends of justice served by granting such a continuance outweigh

17         the best interests of the public and the defendant in a speedy

18         trial.   18 U.S.C. § 3161(h)(7)(A).      The parties jointly move to

19         exclude time within which any indictment or information shall be

20         filed from the date of this order, through and including April

21         29, 2015, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), because

22         failure to do so would “deny counsel for the defendant . . . the

23         reasonable time necessary for effective preparation, taking into

24         account the exercise of due diligence.”

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     Stipulation to Continue P/H             2       United States v. Gibbons, et al.
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 1      7. Good cause exists under Rule 5.1(d) of the Federal Rules of

 2         Criminal Procedure.

 3   IT IS SO STIPULATED.

 4

 5   DATED: March 23, 2015               /s/ Justin L. Lee   _
                                       JUSTIN L. LEE
 6                                     Assistant U.S. Attorney
 7   DATED: March 23, 2015               /s/ Kelly Babineau     _
                                       KELLY BABINEAU
 8                                     Attorney for Bryce Beaver
                                       (as authorized on March 18, 2015)
 9

10   DATED: March 23, 2015               /s/ Robert Holley     _
                                       ROBERT HOLLEY
11                                     Attorney for Charles Beaver
                                       (as authorized on March 19, 2015)
12
     DATED: March 23, 2015               /s/ Jeffrey Fletcher     _
13                                     JEFFREY FLETCHER
                                       Attorney for Sharod Gibbons
14                                     (as authorized on March 18, 2015)
15

16                                         ORDER

17         IT IS SO FOUND AND ORDERED, this 23rd day of March, 2015.

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     Stipulation to Continue P/H             3       United States v. Gibbons, et al.
